

People v Toro (2025 NY Slip Op 02728)





People v Toro


2025 NY Slip Op 02728


Decided on May 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2025

Before: Webber, J.P., Scarpulla, Mendez, Rodriguez, Pitt-Burke, JJ. 


Index No. 297/18|Appeal No. 4276|Case No. 2023-01748|

[*1]The People of the State of NewYork, Respondent,
vChristian Toro, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Thomas Palumbo of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Paul A. Andersen of counsel), for respondent.



Order, Supreme Court, Bronx County (Margaret Clancy, J.), entered on or about March 10, 2023, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant defendant a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). The mitigating factors advanced by defendantnamely his conduct during his incarceration and his postrelease employment and living situationwere taken into account by the risk assessment instrument by assessing zero points for factors 13 and 15 (conduct while confined or supervised and living/employment situation) and did not outweigh the seriousness of defendant's repeated sex offenses against his 15-year-old student (see People v Rivera, 234 AD3d 605 [1st Dept 2025]; People v Sinha, 165 AD3d 537 [1st Dept 2018], lv denied 32 NY3d 916 [2019]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2025








